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Pro-hac vice



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                                         )
a Delaware corporation,                                      )
                                                             )
         Plaintiff,                                          )
                                                             )
         v.                                                  )    Case No. 21-CV-125
                                                             )
PAUL D. MCCOWN, AND                                          )
MCCOWN ENTERPRISES, LLC,                                     )
a Wyoming Limited Liability Company                          )
                                                             )
         Defendants.                                         )


          MOTION TO DISMISS ALL REMAINING CLAIMS, WITH PREJUDICE


         Plaintiff Ria R Squared, Inc. (“R Squared”), hereby moves (i) to dismiss, with prejudice, all

remaining claims, including those for punitive damages, against Defendants, (ii) to vacate all remaining

deadlines, hearings and trial dates and (iii) order that all parties shall be solely responsible for their

respective fees, costs and expenses in this matter.

         Respectfully submitted this 14th day of March, 2023.


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                RIA R SQUARED, INC.,
                a Delaware corporation,

                         Plaintiff .

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                Attorneys for Plaintiff




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                             CERTIFICATE OF SERVICE

            The undersigned does hereby certify that a true and correct copy of the foregoing
pleading was served upon counsel of record via the ECF/CM Filing System (or otherwise as
indicated below).

          Jason Tangeman                             [ X] Electronic Delivery ECF/CM
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